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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
ACUITY, A MUTUAL INSURANCE                        )
COMPANY,                                          )
                                                  )
         Plaintiff(s),                            )
                                                  )
    v.                                            )          No. 4:24-CV-01277-MTS
                                                  )
RIVERDALE PACKAGING                               )
CORPORATION,                                      )
                                                  )
         Defendant(s).


                                 ORDER
            REFERRING CASE TO ALTERNATIVE DISPUTE RESOLUTION
      After due consideration of the issues and in consultation with the parties, the Court finds

that this cause is appropriate for referral to an alternative form of dispute resolution as provided

by the local rules of this Court.

      IT IS HEREBY ORDERED that:

      (a) Referral to ADR: This case is referred to: Mediation

      (b) Conduct of ADR Conference(s): The ADR conference(s) shall be conducted in

accordance with the procedures outlined in E.D.Mo. L.R. 6.01 - 6.05.

      (c) Scheduling ADR Conference(s): The ADR conference(s) shall be concluded before

May 30, 2025, unless extended by order of the Court. Although ADR conferences may be

conducted at any location agreed to by the parties, counsel, and the assigned neutral, the parties

are advised that such conferences may be conducted in designated space in the United States

District Court, 111 South 10th Street, St. Louis, Missouri, and United States District Court, 555
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Independence Street, Cape Girardeau, Missouri, by making arrangements with the Office of the

Clerk.


         (d) General Rules Governing ADR Conference(s): The ADR procedures are defined

and the process shall be conducted in accordance with E.D.Mo. L.R. 6.01-6.05. The following

Orders are entered in this matter:

             (1) Designation of Lead Counsel: James R. Jarrow is designated as lead
            counsel and shall be responsible for working with the parties and the neutral to
            coordinate an agreeable date, time, and, if necessary, location for the initial ADR
            conference.

             (2) Responsibilities of Lead Counsel: Not later than April 21, 2025, lead counsel
            shall notify the clerk of the agreed choice of neutral selected by the parties and the
            date, time and location of the initial ADR Conference (see Designation of
            Neutral/ADR Conference Report form, <www.moed.uscourts.gov>, ADR, forms).
            Upon selection of the neutral, lead counsel shall send a copy of this order to the
            neutral.

             (3) Authority of the Neutral: The neutral shall have authority to consult and
            conduct conferences and private caucuses with counsel, individual parties, corporate
            representatives and claims professionals, to suggest alternatives, analyze issues and
            positions, question perceptions, stimulate negotiations, and keep order.

             (4) Compliance with Deadlines: All deadlines must be complied with in a timely
            fashion and the appropriate forms filed with the Clerk of the District Court. If a
            deadline cannot be met, the designated lead counsel shall file a motion requesting
            an extension of the deadline prior to the expiration of that deadline. Noncompliance
            of any deadline set herein by this Court may result in the imposition of sanctions to
            the appropriate party or parties.

     (e)      Local Rule 6.02 – Duties of Participants: Counsel for all parties is directed to

review E.D.Mo. Local Rule 6.02 in its entirety. The Court specifically notes the General

Attendance Requirements as set forth below:

            (1) Attendance and Participation: All named parties and their counsel are required
            to attend the ADR conference, participate in good faith, and possess the requisite
            settlement authority unless excused under this Rule. The attendance requirement is
            satisfied by appearing in person or by video conference, unless in-person attendance
            is Ordered by the Court or required by the neutral. Unless excused by the neutral for
            good cause shown, when appearing by video conference, persons must be visibly



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          present in front of their camera with audio and video turned on so that audio and
          visual interaction with all parties can occur.

          (2) Disclosure of Participants and Manner of Attendance: Not later than fourteen
          (14) days prior to the ADR Conference, each party will provide to all parties, and to
          the neutral, a list of all persons who will participate in the ADR Conference on behalf
          of the party making the disclosure. This list shall state the names of the individuals
          attending and their general job titles and shall state whether each person is attending
          in person or by videoconference.

          (3) Contesting Attendance: Any party contesting the manner of attendance listed in
          another party’s disclosure, or the lack of attendance by any party who would be
          necessary in any way to achieve settlement, must inform the neutral in writing of
          their contest, simultaneously copying all counsel, no fewer than ten (10) days prior to
          the date set for the conference. The neutral may contact the parties and attempt to
          resolve the contest but must make a final determination in writing to all parties on
          attendance requirements no fewer than seven (7) days prior to the date set for the
          conference. The neutral may allow attendance by videoconference, require in-person
          attendance, or excuse attendance. Any party contesting any attendance determination
          by the neutral may file a motion with the Court no fewer than four (4) days prior to
          the date set for the conference, stating the reasons for the objection to the neutral’s
          determination and providing alternatives for attendance compliance. The Court may
          Order attendance by videoconference, in-person attendance, or excuse attendance; or
          the Court may enter any other appropriate Order necessary for the attendance of the
          parties. On its own authority, the Court may alter the deadlines set forth this in
          section.

      Nothing in this order alters the Case Management Order previously entered in this

case. All deadlines set forth in that Case Management Order remain in full force and

effect.

      Dated this 31st day of March, 2025.
                                                ___________________________________
                                                MATTHEW T. SCHELP
                                                UNITED STATES DISTRICT JUDGE




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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION
ACUITY, A MUTUAL INSURANCE                        )
COMPANY,                                          )
                                                  )
          Plaintiff(s),                           )
                                                  )
     v.                                           )         No. 4:24-CV-01277-MTS
                                                  )
RIVERDALE PACKAGING                               )
CORPORATION,                                      )
                                                  )
          Defendant(s).


                       DESIGNATION OF NEUTRAL BY PARTIES
                                             AND
                               ADR CONFERENCE REPORT
      Pursuant to the Court's Order Referring Case to ADR for Mediation, dated March 31,

2025, the parties hereby designate by agreement the following individual from the Court's list of

Certified Neutrals to serve as Neutral in the above-styled action.

          Name of Neutral/Firm:      _________________________________________
          Firm Address:              _________________________________________

                                     _________________________________________

          Telephone:                 _____________ Fax: ______________
          The attorneys of record in this case are:
                Lead Counsel:        _________________________________________
                    Firm Address:    _________________________________________

                                     _________________________________________
                    Telephone:       _____________ Fax: ______________

                Other Counsel:       _________________________________________
                    Firm Address:    _________________________________________

                                     _________________________________________




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                   Telephone:         _____________         Fax: ______________
               The completion deadline for this ADR referral is May 30, 2025.
       The parties, in consultation with the assigned neutral, hereby designate by agreement the

 following date, time, and location of the initial ADR conference

     Date of Conference: ____________________, 20____

     Time of Conference: ____________________ a.m./p.m.

     Location of Conference (Check One):

      □ Designated Space at: Eastern District of Missouri
                             Thomas F. Eagleton Courthouse
                             111 South 10th Street
                             St. Louis, MO 63102
      □ Other Location:           __________________________________________________

                                  __________________________________________________
       All parties and the assigned neutral have been given at least fourteen (14) days notice of

 the above-dated conference. The neutral shall schedule any additional conference(s) in

 consultation with the parties.

       We, the undersigned parties to this action, declare that this designation is both consensual

 and mutual

   _________________                              ___________________________________
   Date
                                                  ___________________________________
                                                  Signature of Plaintiff(s)

                                                  ___________________________________

                                                  ___________________________________
                                                  Signature of Defendant(s)




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